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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

                            Complainant,
            v.
                                                              Criminal Case No.
ZACHARY REHL
                                                              1:21-cr-00175-TJK-3

(Styled as USA v. NORDEAN incorporating cases
against four Defendants collectively)


                            Accused


              ZACHARY REHL’S MOTION FOR BILL OF PARTICULARS

       Comes now the Accused ZACHARY REHL, by counsel, and hereby files this Motion for

a Bill of Particulars pursuant to Federal Rule of Criminal Procedure 7(f), and for his reasons

files a companion Memorandum of Law, by counsel.

                                      Certification of Consultation

       Counsel undersigned inquired by email of the prosecution late afternoon on September

23, 2021, if they would oppose a motion for bill of particulars. Counsel made clear that he was

not asking for the actual information quickly only the prosecution’s reaction to the concept of

providing these details. Counsel is not convinced that consultation is required for this challenge

to the charging document.

       But on Friday, September 24, 2021, the prosecution responded that they believe that the

subject matter appeared to be the same as addressed in motions at ECF Docket Nos. 88, 93, 99,

138, 156. Counsel for REHL does not agree.

       Counsel for REHL has reviewed these but believes this motion is different than those
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both as to most of what is sought as particulars and also the legal reasoning why. For example,

co-Defendants’ prior motions are distinguishable from REHL’s Motion for a Bill of

Particulars here, as explained by the ruling of the Honorable Amit P. Mehta set forth in

detail in the Memorandum of Law.

       While denying all other requests for particulars, Judge Mehta granted a request for

particulars for Defendant James concerning a multiplicity of potential victims there.

       Here, REHL argues on the same analysis that an unknown and open-ended number

of unidentified potential conspirators and objects of aiding and abetting creates the same

problem for which Judge Mehta ordered a bill of particulars brought by Defendant James in

the group of Defendants in USA v. Thomas Caldwell, Case No. 1:21-cr-00028-APM.

       The only point that REHL, by counsel, believes comes close is the statement in the

Government’s Opposition at ECF Docket #93:

                  The government has identified Pezzola as a co-conspirator of
                  the defendants in this case, and defendant Nordean is
                  vicariously liable for Pezzola’s destruction of the Capitol
                  window, as alleged in the indictment.

       However, in fact the First Superseding Indictment does not allege any conspiracy involving

REHL or any of the Defendants and Pezzola.

       Indeed, one of the particulars that REHL, by counsel, seeks by a bill of particulars is

precisely to identify whom out of 500,000 to 1 million people estimated to have attended various

events on January 6, 2021, the grand jury alleges REHL to have conspired with.

       The failure to identify with whom REHL supposedly conspired not only raises the problem

Judge Mehta analyzed with regard to Defendant James but also casts oceans of doubt upon whether

there ever was a conspiracy when the grand jury plainly never knew who is included in the

conspiracy and who is not. Plainly, there never was any such conspiracy certainly not involving



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REHL or to REHL’s knowledge. Recall that every element must be proven to a knowingly and

intentionally or purposefully standard beyond a reasonable doubt. Either REHL agreed with people

or he did not. Therefore, one major request in REHL’s motion for a bill of particulars is to identify

with whom he is supposed to have conspired. REHL expects that the answer will be that REHL

never conspired with anyone other than for the innocent purpose of taking a trip to D.C. and listening

to the speakers on stage at the Ellipse near the White House.

        The prosecution’s consultation response by email heightens the need for particulars as to

whom REHL is alleged to have conspired with.

        In addition, the indictment does mention Pezzola only one time (emphasis added):

                    62. At 2:14 p.m., BIGGS entered the Capitol building
                    through a door on the northwest side. The door was opened
                    by a Proud Boys member, Dominic Pezzola, charged
                    elsewhere, used riot shield at 2:13 p.m. to break a window that
                    allowed rioters to enter the building and Proud Boys members
                    Gilbert Garcia, William open an adjacent door from the inside.

        This mention, while a serious allegation against Pezzola, in no way alleges any conspiracy

between Pezzola and REHL, or even Biggs.

        Moreover, REHL is alleged to have briefly entered the U.S. Capitol at the First Street

pedestrian entrance. First Street is on the East side of the U.S. Capitol building. See, MAP, U.S.

Capitol Police, https://www.visitthecapitol.gov/plan-visit/us-capitol-map

        As a very, very, very public building, the floor plans and maps of the U.S. Capitol building

are published by the Architect of the Capitol and the U.S. Capitol Police and are and have been

available to the public for at least a century.

        Thus, taking the allegations of the indictment on its own terms, BIGGS entered the Capitol

building on the Northwest side, while REHL entered the Capitol building, it is alleged, on the East

side from 1st Street.

        Thus, taking the allegations of the grand jury on its own terms. REHL was nowhere near the



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door or window on the northwest side but REHL was at the First Street entrance on the East side.

       Thus, REHL was not there when Pezzola did anything, did not see what Pezzola did, and

there is no allegation of any agreement to commit a criminal act with Pezzola.2

       There is no allegation of any prior agreement.

       There is no allegation of any overt act prior to this point in time of a conspiracy to break any

windows or enter the U.S. Capitol building, as opposed to a spontaneous, spur-of-the moment

decision in the heat of the moment in the crowd. (Not justifiable, but not a conspiracy.)

       There is a difference between a dumb decision when – as it used to be said – one’s blood is

up and a conspiracy planning ahead.

       There is no allegation that ZACHARY REHL ever knew that Pezzola broke into any window

and/or opened any door.

       There is no allegation that Biggs ever knew that Pezzola broke into the window and opened

any door.

       That is exactly why REHL asks for a Bill of Particulars as to who the grand jury found was in

the conspiracy, when the conspiracy was formed, where it was formed (did REHL act on the territory

of Philadelphia, for example?), and for what purpose.

       A “conspiracy” to go see what the fuss is about in D.C. and observe is not a criminal

conspiracy. Therefore, what exactly did REHL ever agree to as a criminal purpose? When?

       The government makes note of the Court’s Order at ECF Docket # 138.

       For example, the Court’s Order at Dkt. 138 responds at the bottom of page 8:


1      Note we are concerned here only with what the grand jury alleged. One may say
they were wrong. But their indictment is still judged on its own terms and its internal self-
contradictions. Replying, oh, no, we meant ABC instead, casts doubt on the legitimacy of
the presentment of particularized facts to the grand jury in order to issue a true bill.
2      Note that if there were a conspiracy by someone with Pezzola, that does not mean
that REHL entered into any conspiracy with Pezzola. There could have been a conspiracy
which REHL played no part in. This is why individual Defendants have separate counsel.

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                  Nordean does not explain why the overt acts alleged in the
                  First Superseding Indictment do not provide him with
                  enough information to understand the conspiracy charge
                  against him and prepare his defense.

       REHL, however, does explain that the indictment contains no allegation – other than

insufficient conclusory statements of law – as to REHL ever entering to any such conspiracy.

There are no facts alleged as to REHL ever agreeing knowingly and intentionally or purposefully

to the objects of the supposed conspiracy.

       These are not facts as jury questions. This is a gaping hole in the First Superseding

Indictment. On its own terms, the indictment falls.

       The Court’s Order at Dkt. 138 seeks to distinguish precedent by saying within the

footnote 3 at the bottom of page 8 (“In rare instances…”)

                  … In particular, as another court in this district has pointed
                  out, the Ramirez indictment “contained specific factual
                  deficiencies” regarding the timing of the conspiracy “leading
                  the court to question whether the particular defendants
                  requesting the bill of particulars had ever entered into the
                  alleged conspiracy.” Lorenzana-Cordon, 130 F. Supp. 3d at
                  177. Thus, the defendants needed more details about the
                  conspiracy’s timeline than is typically required to understand
                  how they were supposed to have been involved in the
                  conspiracy at all. Id.

       Exactly! That is exactly what REHL is arguing here.

       There are no factual allegations in the indictment that REHL of any kind whatsoever that

REHL ever agreed upon a purpose of a criminal outcome other than simply attending the First

Amendment protected demonstration at the Ellipse between the Washington Monument and the

White House, with hundreds of thousands of others who spilled across the Mall to the Lincoln

Memorial to the West and the National Museum of African-American History and beyond to the

East. It is alleged that REHL wanted to go to D.C. Like many sporting events, it is alleged that

REHL wanted to keep in touch with people he knew with radios, just like the family camping

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trip around the like keeping tabs on the kids with walkie-talkies from Radio Shack. The only

exception to that is anticipating nearly-certain attacks from ANTIFA thugs against a tempting

target of large flocks of defenseless Trump supporters.

       Ignoring the invalid conclusory statements, the factual allegations accuse REHL of

entering into nothing more than a plan of going on a trip. There are no factual allegations of any

criminal purpose other than to listen to the speakers on the stage set up by “Women for America

First” on the South side of the White House.

       Therefore, counsel certifies that what ZACHARY REHL is requesting now is different

than past requests both as to what is being asked and the legal reasoning for why.


Dated: September 25, 2021             RESPECTFULLY SUBMITTED
                                      ZACHARY REHL, by counsel.


                                      /s/ Jonathon Alden Moseley
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on September 25, 201, I electronically filed the foregoing document
with the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic
filing to the following CM/ECF participant(s), and also mailed a copy to the following by first
class U.S. mail, postage prepaid, one single copy to the prosecution for distribution internally to
all counsel involved for the proseuction. From my review of the PACER / ECF docket records
for this case that the following attorneys will receive notice through the ECF system of the U.S.
District Court for the District of Columbia.

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